
600 S.E.2d 856 (2004)
STATE
v.
Kyle BERRY.
No. 389A01-3.
Supreme Court of North Carolina.
July 7, 2004.
William F.W. Massengale, Chapel Hill, for Kyle Berry.
William N. Farrell, Special Deputy Attorney General, John Carriker, District Attorney, for State.
The following order has been entered on the motion filed on the 6th day of July 2004 by Defendant to Extend Time for Court Reporters to Serve Transcript:
"Motion Allowed. Court reporter shall have up to and including the 30th day of August 2004 to serve transcript to counsel. By order of the Court in conference this the 7th day of July 2004."
